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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



JARED CARTY, et al
      V.                                                    CIVIL ACTION: 20-5585 HSP
STEEM MONSTERS CORP, et al


                      RULE 16 CONFERENCE SCHEDULING ORDER


                AND NOW, this 16th day of APRIL, 2021,

                IT IS ORDERED that a TELEPHONIC Rule 16 Scheduling Conference in the

above-captioned case will be held on THURSDAY, MAY 6, 2021 AT 2:30 PM before the

undersigned.

                IT IS FURTHER ORDERED that ANTRANIG GARIBIAN, ESQ., shall initiate

the call to all Counsel involved. The Court’s conference call contact number will be provided at

a later date.

                IT IS FURTHER ORDERED that the lead trial counsel of record for each party

shall participate in the conference.

                IT IS FURTHER ORDERED that at the conference counsel shall be prepared to

discuss the following:

                1. Deadlines for:
                      (a) discovery, including the submission of expert reports;

                         (b) dispositive motions;

                         (c) motions in limine; and

                       (d) pre-trial memoranda, including submission of juror voir dire and points
                       for charge.
                2. Scheduling of future settlement and/or pre- trial conferences.
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               3. Proposed trial dates. (Counsel shall have their trial calendars with them).

               4. Length of trial.

               5. Other scheduling considerations.

               6. Any unique or unusual factual, legal, or procedural aspects of the case.

               IT IS FURTHER ORDERED that Counsel are further directed to provide a

Conference Summary and Case Synopsis to Chambers, by Email on or before MONDAY, APRIL

26, 2021, NOON. The Email address is Chambers_of_Judge_Henry_S_Perkin@paed.uscourts.gov.

The Conference Summary and Case Synopsis shall include:

               1.     Identify any pending motions

               2.     Any other relevant matters

               3.     A case synopsis, limited to two pages, which shall be in Microsoft Word

                      or Wordperfect Format

               This Email address shall be used for no other purposes unless prior permission it

granted.



                                             BY THE COURT:
                                             ATTEST

                                             /ss/ CARLENE L. KOHUT
                                             DEPUTY CLERK TO HENRY S. PERKIN, USMJ
                                                 FOR INFORMATION CONTACT CHAMBERS
                                                 Phone: 610-434-3823
                                                 FAX: 610-434-5152
